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    EXHIBIT 9
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From:            Samuel Kaplan
To:              Fisher, Catherine (BOS); Clark, Christopher G (BOS)
Subject:         RE: [Ext] Pending issues in SPARTA Ins. Co. v. Pennsylvania Ins. Co., No. 21-11205
Date:            9/11/2023 10:58:00 PM
CC:              Maxwell Pritt; Sean Rodriguez; Mariah Noah; Victoria Scordato; Jack F. Dew; Carroll,
                 James R (BOS)
BCC:

Message:
Catherine,

Thanks for your email. We had hoped to hold the meet and confer on the issues we have identified last
Thursday or Friday. We are available tomorrow although not until 5:30 et. Let us know if that works or
whether we need to find a time later in the week. In the interim and as discussed with Chris last week, it
would be good to get the 30(b)(6) depositions on the calendar. As stated in a separate email, we are
unavailable during the proposed Sept 25-27 dates for the PGIC 30(b)(6) and Silver individual depositions,
but would be available the next week (October 2-6). We have noticed October 11-13 for the SPARTA
30(b)(6) deposition.

Does SPARTA intend to provide its current positions on the open issues with SPARTA’s responses
(summarized in my August 23 email below and the correspondence it incorporates by reference) prior to
the meet and confer? This would expedite the process given that we have raised a number of issues,
most of which date back many months.

As for issues discussed in your Friday email, please see initial responses below. Best,

Sam


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From: Fisher, Catherine <Catherine.Fisher@skadden.com>
Sent: Friday, September 8, 2023 3:35 PM
To: Samuel Kaplan <skaplan@bsfllp.com>; Christopher Clark <Christopher.Clark@skadden.com>
Cc: Maxwell Pritt <mpritt@BSFLLP.com>; Sean Rodriguez <srodriguez@BSFLLP.com>; Mariah Noah
<mnoah@bsfllp.com>; Victoria Scordato <vscordato@BSFLLP.com>; Jack F. Dew
<jdew@cohenkinne.com>; Carroll, James R <James.Carroll@skadden.com>
Subject: RE: [Ext] Pending issues in SPARTA Ins. Co. v. Pennsylvania Ins. Co., No. 21-11205

Sam,




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Below are the additional open issues that we wish to address during our meet and confer. We are
available to discuss the issues raised in your August 23 email, as well as the items listed below, Monday
between 10am and 1pm or after 4pm, or Tuesday after 12pm.

    1. AU/PGIC Depositions: We intend to discuss your refusal to present Steven Menzies and Alan
       Quasha for their noticed depositions. Seeing as you are seeking to depose three former senior
       executives of SPARTA, including two of its former CEOs, it should hardly be surprising that senior
       executives of PGIC and its affiliated companies likewise have relevant information that we are
       entitled to ask them about. For example, Mr. Menzies, who you claim has no unique
       knowledge, was identified as an individual with information relevant to the case on PGIC’s own
       initial disclosures, was a signatory of the 2012 stock purchase agreement that is the basis for
       many of PGIC’s affirmative defenses, and appears on numerous documents in PGIC’s production
       and on PGIC’s privilege log.

        SPARTA continues to fail to provide any justification for noticing those depositions prior to
        conducting the Silver 30(b)(6) and individual depositions, and it makes no sense to do so. We
        had agreed on this previously before the pause in proceedings and are unclear as to why
        SPARTA has renoticed those depositions when there is so clearly no basis for doing so. As an
        initial matter, it is not accurate to say that we are, at this point, “seeking to depose” Mr. Estes,
        Ms. Ware, and Ms. Terrell. Rather, we have long sought to clarify whether Skadden represents
        them or whether we may contact them directly or through other counsel. Further, we have
        made clear our position (see No. 3 of our August 23 email) that SPARTA is obliged to consult
        those individuals and other reasonably available former employees in connection with its
        preparation for its own 30(b)(6) deposition on topics where those individuals and other
        reasonably available former employees have unique knowledge. Only after SPARTA clarifies the
        representational issues and meets its 30(b)(6) deposition obligations will we be in a position to
        determine whether it will be necessary to interview and/or conduct third-party depositions of
        these individuals.

        Further, and whether we seek to depose them or not, these witnesses are not similarly situated
        to Messrs. Menzies and Quasha and do not in any way support noticing their depositions. As
        discussed previously but without any response from SPARTA, Messrs Menzie and Quasha are
        current heads of their respective companies. As apex depositions, it is incumbent upon SPARTA
        to identify unique knowledge those individuals have before noticing their deposition. It has
        failed to do so, and there would be no basis for such a claim. Rather Mr. Quasha has no
        knowledge of relevant topics, and neither has any knowledge that Mr. Silver lacks. Without
        making a showing that they have unique knowledge there is no basis for noticing those
        depositions, particularly prior to conducting Mr. Silver’s deposition and the PGIC 30(b)(6)
        deposition.

        By contrast, the three individuals are former executives who are not heads of their current
        companies. Further, they demonstrably do have unique knowledge that no current SPARTA
        employee has. For example, Mr. Estes was involved in the negotiation of the original 2007 SPA,
        something that does not appear to be true of any current SPARTA or Catalina
        employee. Further, Ms. Ware and Ms. Terrell served in important capacities during the relevant
        period and (along with Mr. Estes) drafted and/or received important correspondence, including,
        e.g., SPARTA 67468. That document shows that these individuals received notice of the sale of
        PGIC and 2012 Transfer and Assumption agreement almost ten years before SPARTA claimed to


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   have received such notice in sworn interrogatories. SPARTA later had to correct those
   interrogatories when these emails came to light.

   Accordingly and while we are happy to discuss the issue further, SPARTA has articulated no basis
   for noticing Messrs. Menzies and Quasha’s depositions, particularly prior to conducting Mr.
   Silver’s individual and 30(b)(6) depositions.

2. SPARTA’s Third RFPs and Subpoenas to AU/NAC Entities and Individuals: Obviously, SPARTA’s
   third set of requests for production to PGIC and its document subpoenas to the AU-affiliated
   entities and individuals remain open issues generally since those productions have not been
   completed. However, there are also specific open issues with respect to the following requests
   that were discussed during the May 2 meet and confer:

           As I say in item 4 of my August 23 email, neither party has completed response to the
           third set of document requests. Thus, the only open issue is for the parties to set a
           deadline for completing responses to their respective third sets of document
           requests. We can discuss at the meet and confer what the date should be. As for
           affiliated companies, and as discussed previously, where a document is otherwise
           responsive to a non-objectionable request, PGIC will not rely on the fact that the
           document is in possession of an affiliate as a justification for not producing the
           document. We understand that the same is true of SPARTA and Catalina.

       a. RFP No. 38: This request seeks documents “concerning the risk-based capital levels of
          the NAC Pool and/or PGIC.” You agreed to produce “documents sufficient to show the
          risk-based capital levels for all members of the NAC Pool and any Form F filings by
                                              Redacted
          Defendant from the date PIC was added to the pool to the present.” During the meet
          and confer, you agreed to consider our request that you also produce any risk-based
          capital reports or plans submitted to regulators.

           This information is entirely irrelevant, but in the interest of minimizing unnecessary
           disputes, we will consider producing risk-based capital reports for pool companies.

       b. Subpoena Requests Nos. 25 and 26: These requests seek documents concerning any
          Intercompany Loans or Capitalization Payments by the boards of AU, NAC and/or
          PGIC. As we explained during the meet and confer, we are entitled to seek information
          to test your assertion that such loans or payments are not related to PGIC’s attempts to
          avoid its obligations with respect to the AEIC liabilities. Please advise whether you will
          be producing any information in response to these requests.

           As discussed previously, SPARTA has never made the barest attempt to justify these
           requests. They are not relevant to the parties’ claims or defenses. Nor is there any
           basis for the suggestion that PGIC is using such payments or loans to avoid the
           obligations it seeks to impose. You say you would like to “test” that denial, but SPARTA
           has not provided any basis (much less a plausible one) for the proposition, nor does it
           make any such claim in its complaint (which has now been amended twice). Far from it,
           SPARTA has not even identified a single loan or capitalization payment that it claims
           (even in conclusory unsupported fashion) was used to avoid the hypothetical obligations
           it seeks to impose—much less identified such a loan or payment and provided a basis


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